Case 08-51286   Doc 12   Filed 11/04/08   Page 1 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 2 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 3 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 4 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 5 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 6 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 7 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 8 of 11
Case 08-51286   Doc 12   Filed 11/04/08   Page 9 of 11
    Case 08-51286   Doc 12   Filed 11/04/08   Page 10 of 11




November 4, 2008
            Case 08-51286     Doc 12 Filed 11/04/08 Page 11 of 11
                            PARTIES TO BE SERVED
                                 PAGE 1 OF 1
                              B-08-51286 C-13W


KATHRYN L. BRINGLE
CHAPTER 13 TRUSTEE
PO BOX 2115
WINSTON-SALEM, NC 27102-2115
